                  UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                           AT GREENVILLE



 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )             NO. 2:05-CR-58
                                               )
 CHRISTOPHER KIRKPATRICK                       )



                                       ORDER


               This supervised release revocation matter came before the Court on

 January 23, 2006, for a hearing in regard to whether or not the defendant has violated

 the conditions of his probation, and therefore, should his term of probation be revoked.

 On October 31, 2005, the defendant was placed on probation for five (5) years, and his

 term of supervision was scheduled to expire on October 30, 1010.

             The defendant has stipulated that he has violated the terms of his

 supervised release by failing to report his arrest on November 11, 2005. The Court also

 FINDS by a preponderance of the evidence that the defendant committed the offenses

 of theft under $500.00, consuming alcohol under the age of 21, and evading arrest on

 or about November 11, 2005, in Greene County, Tennessee.

              It was not contested that the defendant's violation guideline range is now




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  four (4) months to ten (10) months; however, the defendant is subject to a maximum

 sentence of sixty months (60) months under 18 U.S.C. § 3583(e)(3).

              In determining his sentence, it is significant that the defendant was on

 probation for less than two weeks before he violated the terms of his probation. It is

 also apparent to the Court that the defendant needs intensive drug treatment by his

 continued association with alcohol and/or drugs.

              The Court has carefully considered the policy statements of Chapter 7 of

 the United States Sentencing Commission Guidelines which reflect a revocation range

 of four (4) to ten (10) months. Because the policy statements of Chapter 7 of the

 U.S.S.C.G. are policy statements and not guidelines, and although the Court must

 consider these policy statements, the Court is not bound by them. United States v. West,

 59 F.3d 32 (6th Cir. 1995).

              Based upon the defendant’s almost immediate failure to comply with the

 conditions of his probation, and based upon his need for intensive substance abuse

 treatment, the Court does not find that in the interest of society, or in the interest of

 rehabilitating this defendant, a sentence within this suggested range is appropriate.

              Accordingly, the Court FINDS that the defendant has violated the terms

 of his probation, and his probation is REVOKED. The Court will impose a sentence

 authorized by U.S.C. 18 § 3583(e)(3). Therefore, it is hereby ORDERED that the

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 defendant is sentenced to serve a term of twenty-four (24) months of incarceration. The

 Court RECOMMENDS that the defendant receive credit for time served. The Court

 VERY STRONGLY RECOMMENDS that the defendant be placed in the 500 hour

 Bureau of Prisons Intensive Residential Drug Treatment Program. The Court also

 RECOMMENDS that the defendant be designated to a federal facility that has this 500

 hour program, as close as possible to Greene County, Tennessee.

             Following the service of this sentence, the defendant will be placed on a

 term of supervised release of three (3) years. During this term of supervised release

 he will be subject to the thirteen standard conditions of supervision imposed in Local

 Rule 83.10 as well as the following special conditions:

             1.     He shall reside at the Comprehensive Sanctions Center
                    (Midway Rehabilitation), Knoxville, Tennessee, for a
                    period of six (6) months and abide by the rules of that
                    facility, and

             2.     He shall participate in a program of testing and/or
                    treatment for drug and/or alcohol abuse, as directed by
                    the probation officer, until such time as you are re-
                    leased from the program by the probation officer.



             It is hereby ORDERED that the defendant is REMANDED to the custody

 of the United States Marshal.   It is also hereby ORDERED that the defendant’s report



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 date be delayed until a date after February 17, 2006, so that he can resolve his pending

 charges in Greene County, Tennessee.



             ENTER:

                                                    s/J. RONNIE GREER
                                                UNITED STATES DISTRICT JUDGE




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